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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION
                              www.flmb.uscourts.gov

In re:

Genie Investments NV Inc.,                             Case No. 3:24-bk-00496-BAJ
                                                       Chapter 11
      Debtor.
__________________________________/

                  UNITED STATES TRUSTEE'S APPLICATION FOR
              APPROVAL OF APPOINTMENT OF CHAPTER 11 EXAMINER

         Mary Ida Townson, the United States Trustee for Region 21 (“United States

Trustee”), pursuant to Federal Rule of Bankruptcy Procedure 2007.1(c) and this Court’s

Order Directing the Appointment of a Chapter 11 Examiner (Doc. No. 60), applies to this

Court for approval of the appointment of Maria M. Yip, as the Chapter 11 Examiner in the

instant case. In support of approval, the United States Trustee states as follows:

         1.    The United States Trustee has selected Maria M. Yip for appointment as the

Chapter 11 Examiner in the instant case. Maria M. Yip’s business address is:

         Maria M. Yip, CPA, CFE, CIRA, CFF
         Yip Associates
         2 S. Biscayne Blvd, Suite 2690
         Miami, Florida 33131
         Office: 305-569-0550
         Fax: 1-888-632-2672
         E-mail: myip@yipcpa.com

         2.    The Appointment of Chapter 11 Examiner (Doc. No. 63) is attached to this

Application as Exhibit A.

         3.    Prior to this appointment, the undersigned counsel for the United States


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Trustee solicited input and/or received suggestions from parties in interest, including: (i)

counsel for Genie Investments NV Inc. (“Debtor”), Bryan Mickler, Esq.; (ii) the self-

organized creditor group of small business owners; (iii) and counsel for North Haven

Lodging Partners LLC and Wallingford Lodging Partners LLC, Benjamin Morris, Esq.

       4.      To the best of the United States Trustee's knowledge, the appointed Chapter

11 Examiner has no connections with the Debtor, creditors, other parties in interest (with

the exception of taxing authorities), their respective attorneys and accountants, the United

States Trustee, and/or persons employed by the United States Trustee, except as may be

set forth in the verified statement made by Maria M. Yip, which is attached hereto as

Exhibit B.

       5.      The United States Trustee has reviewed Ms. Yip’s verified statement and

believes that the proposed examiner meets the disinterested person test as set forth in 11

U.S.C. § 101(14). Ms. Yip does not hold any interest materially adverse to the interests of

the Debtor’s estate or to any class of creditors or equity security holders by reason of the

matters set forth in her verified statement or by reason of any other matter of which the

United States Trustee is aware.

       WHEREFORE, the United States Trustee respectfully applies to the Court for

approval of Ms. Yip’s appointment as the Chapter 11 Examiner in the instant case and

requests that the Court enter an order approving Ms. Yip’s appointment as the Chapter 11

Examiner in a form substantially similar to that which is attached hereto as Exhibit C.




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       DATED: April 16, 2024.              Respectfully submitted,

                                           Mary Ida Townson
                                           United States Trustee, Region 21

                                             /s/ Scott E. Bomkamp
                                           Scott E. Bomkamp, Trial Attorney
                                           Indiana Bar No.: 28475-49
                                           United States Department of Justice
                                           Office of the United States Trustee
                                           George C. Young Federal Building
                                           400 W. Washington St., Suite 1100
                                           Orlando, FL 32801
                                           Telephone No.: (407) 648-6069
                                           Facsimile No.: (407) 648-6323
                                           Email: scott.e.bomkamp@usdoj.gov

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing United States
Trustee's Application for Approval of Appointment of Chapter 11 Examiner has been
served electronically through CM/ECF on April 16, 2024, to all parties having appeared
electronically in the instant matter. I HEREBY CERTIFY further that a copy hereof shall
be served by electronic mail or U.S. Mail, postage prepaid, on April 16, 2024 to the
following:

 Genie Investments NV Inc.                  Maria M. Yip, CPA, CFE, CIRA, CFF
 PO Box 60443                               Yip Associates
 Jacksonville, FL 32236                     2 S. Biscayne Blvd, Suite 2690
                                            Miami, Florida 33131


                                             /s/ Scott Bomkamp
                                           Scott Bomkamp, Trial Attorney




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